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9    UNITED STATES OF AMERICA
10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 17-00638-PSG

13             Plaintiff,                    STIPULATION TO CONTINUE SENTENCING
                                             DATE
14                   v.
                                             CURRENT SENTENCING DATE:
15   ALEXANDER TORO HERNANDEZ,               April 29, 2019 at 10:00 a.m.

16             Defendant.                    [PROPOSED] SENTENCING DATE:
                                             July 29, 2019 at 10:00 a.m.
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21        Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorney Roger A. Hsieh, and
24   defendant ALEXANDER TORO HERNANDEZ (“defendant”), by and through his
25   counsel of record, Victor Sherman, hereby stipulate as follows:
26        1.    The Indictment in this case was filed on October 6, 2017,
27   charging defendant with distribution of heroin in violation of 21
28   U.S.C. §§ 841(a)(1), (b)(1)(B)(i) (Count One) and possession with
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1    intent to distribute heroin in violation of 21 U.S.C. §§ 841(a)(1),

2    (b)(1)(A)(i) (Counts Two and Three).

3         2.    Defendant was detained pending trial.

4         3.    On November 7, 2018, defendant pleaded guilty to Count

5    Three of the Indictment, and the Court set a sentencing date of April

6    1, 2019, at 10:00 a.m.

7         4.    On March 13, 2019, the Court continued the sentencing date

8    to April 29, 2019, at 10:00 a.m.

9         5.    By this stipulation, the parties move to continue the
10   sentencing date to July 29, 2019, at 10:00 a.m., so that the parties

11   can prepare their sentencing memoranda and determine the

12   applicability of any potential departures or variances.

13        IT IS SO STIPULATED.

14   Dated: April 15, 2019                Respectfully submitted,

15                                        NICOLA T. HANNA
                                          United States Attorney
16
                                          LAWRENCE S. MIDDLETON
17                                        Assistant United States Attorney
                                          Chief, Criminal Division
18

19                                              /s/
                                          ROGER A. HSIEH
20                                        Assistant United States Attorney

21                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
22

23   Dated: April 15, 2019
                                              /s/ authorization via email
24                                        VICTOR SHERMAN

25                                        Attorney for Defendant
                                          ALEXANDER TORO HERNANDEZ
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